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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 8:18-cr-234-T-35MAP

ALLAN BURT GUINTO,
a/k/a “Big Beefy”

PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, Allan Burt Guinto, and the attorney for the
defendant, Benjamin Stechschulte, mutually agree as follows:
A.  Particularized Terms

1, Count(s) Pleading To

The defendant shall enter a plea of guilty to Counts One, Two,

and Eight of the Indictment. Count One charges the defendant with
conspiracy to commit murder in aid of racketeering activity, in violation of 18
U.S.C. § 1959(a)(5). Count Two charges the defendant with murder in aid of
racketeering activity, in violation of 18 U.S.C. §&§ 1 959(a)(1) and 2. Count
Eight charges the defendant with accessory after the fact, in violation of 18

U.S.C. §3.

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2. Maximum Penalties
Count One carries a maximum sentence of 10 years’
imprisonment, a fine not to exceed $250,000, a term of supervised release of
not more than 5 years, and a special assessment of $100 per felony count for
individuals. Count Two carries a maximum term of Life imprisonment, a fine
not to exceed $250,000, a term of supervised release of not more than 5 years,
and a special assessment of $100 per felony count for individuals. Count
Eight carries a maximum sentence of 10 years’ imprisonment, a fine not to
exceed $125,000, a term of supervised release of not more than 3 years, and a
special assessment of $100 per felony count for individuals. With respect to
| certain offenses, the Court shall order the defendant to make restitution to any |

victim of the offense(s), and with respect to other offenses, the Court may
order the defendant to make restitution to any victim of the offense(s), or to
the community, as set forth below.

3. Elements of the Offense(s

The defendant acknowledges understanding the nature and
elements of the offense(s) with which defendant has been charged and to
which defendant is pleading guilty. The elements of Counts One are:

First: The existence of an enterprise, that is, the 69’ers
Motorcycle Club;

Second: The enterprise engaged, or its activities affected, interstate

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or foreign commerce;

Third: The enterprise, through its members and associates,
engaged in racketeering activity;

Fourth: The defendant committed a crime of violence, namely
conspiracy to murder; and

Fifth: The crime of violence was committed for the purpose of
gaining entrance to or maintaining or increasing position
in the enterprise.

The elements of Count Two are:

First: The existence of an enterprise, that is, the 69’ers
Motorcycle Club;

Second: The enterprise engaged, or its activities affected, interstate
or foreign commerce;

Third: ‘The enterprise, through its members and associates,
engaged in racketeering activity;

Fourth: The defendant committed a crime of violence, namely
murder; and

Fifth: The crime of violence was committed for the purpose of
gaining entrance to or maintaining or increasing position
in the enterprise.

The elements of Count Eight are:

First: The defendant receives, relieves, comforts or assists the
offender in order to hinder or prevent his apprehension,
trial or punishment; and

Second: knowing that an offense against the United States has been
committed.

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4. Counts Dismissed
At the time of sentencing, the remaining count(s) against the
defendant, Counts Three and Four, will be dismissed pursuant to Fed. R.
Crim. P. 11(c)(1)(A).
>. No Further Charges
If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement.
6. Guidelines Sentence
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the
defendant’s applicable guidelines range as determined by the Court pursuant
to the United States Sentencing Guidelines, as adjusted by any departure the
United States has agreed to recommend in this plea agreement. The parties
understand that such a recommendation is not binding on the Court and that,

if it is not accepted by this Court, neither the United States nor the defendant

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will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.
7. Cc ce of Responsibility - e Levels

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will not oppose the defendant’s request to the Court that the
defendant receive a two-level downward adjustment for acceptance of
responsibility, pursuant to USSG §3E1.1(a). The defendant understands that
this recommendation or request is not binding on the Court, and if not
accepted by the Court, the defendant will not be allowed to withdraw from the
plea.

Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for

acceptance of responsibility rests solely with the United States Attorney for the

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Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

8. ion - Substanti istance to be Considered

Defendant agrees to cooperate fully with the United States in the

investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as “substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure
from the applicable guideline range pursuant to USSG §5K1.1, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18

U.S.C. § 3553¢e), or (3) both. If the cooperation is completed subsequent to

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sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that

determination, whether by appeal, collateral attack, or otherwise.

9, Use of Information - Section 1B1.8
Pursuant to USSG §1B1.8(a), the United States agrees that no

self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).
10. Cooperation - ibilities of Parties
a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any

other mitigating circumstances indicative of the defendant's rehabilitative

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intent by assuming the fundamental civic duty of reporting crime. However,
the defendant understands that the government can make no representation
that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or

- false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges

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now pending in the instant case, and being further aware of defendant's rights,
as to all felony charges pending in such cases (those offenses punishable by
imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any

such offenses.
(4) The government may use against the defendant the

defendant's own admissions and statements and the information and books,

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papers, documents, and objects that the defendant has furnished in the course
of the defendant's cooperation with the government.

(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the

United States, the United States may move the Court to declare this entire

plea agreement null and void.
B. Standard Terms and Conditions

1. Restitution, Special Assessment and Fine
The defendant understands and agrees that the Court, in addition

to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement. The defendant further

understands that compliance with any restitution payment plan imposed by

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the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special
assessment is due on the date of sentencing.

The defendant understands that this agreement imposes no
limitation as to fine.

2. Supervised Release

The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.

3. Immigration Consequences of Pleading Guilty
The defendant has been advised and understands that, upon

conviction, a defendant who is not a United States citizen may be removed

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from the United States, denied citizenship, and denied admission to the
United States in the future.
4, ntencing Informati
The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to
comments made by the defendant or defendant's counsel, and to correct any
misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any. |
5. Financial Disclosures
Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.
32(d)(2)(A){ii), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
ptomises that his financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which he has any interest or

over which the defendant exercises control, directly or indirectly, including

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those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,
and local tax returns, bank records and any other financial information
concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attomey's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant

understands and acknowledges that, although the parties are permitted to

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make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly
reserves the right to support and defend any decision that the Court may make
with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.

7. ‘Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and

authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;

(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)

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the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U-S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).
8. iddle District j e t
It is further understood that this agreement is limited to the
Office of the United States Attorney for the Middle District of Florida and
cannot bind other federal, state, or local prosecuting authorities, although this
office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement
This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of ‘good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.
10. Voluntariness
The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attomey for the government and the defendant

and defendant's attorney and without promise of benefit of any kind (other

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than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the
right to be tried by a jury with the assistance of counsel, the right to confront
and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by pleading
guilty, defendant waives or gives up those rights and there will be no trial.

The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are

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felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.
ll. Factual Basis
Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set forth
below are true, and were this case to go to trial, the United States would be able

to prove those specific facts and others beyond a reasonable doubt.

FACTS
The 69’ers Motorcycle Club (“the 69’ers”) was a nationwide motorcycle

club. The 69’ers were an “enterprise,” as defined in 18 U.S.C. § 1959(b)(2).
The oldest chapter in the country was established in Brooklyn, New York in
1967. In addition to the Brooklyn Chapter, the 69’ers had several chapters in
the State of New York, including Staten Island, Queens, Troy, and Sullivan
County. The club also had chapters in other states, including New Jersey,
Pennsylvania, North Carolina, Florida, and Puerto Rico. At all relevant times,
the defendant, Allan Guinto, and his codefendants, Christopher Cosimano,

_ Michael Mencher, Erick Robinson, and Cody Wesling were members or
prospective members of the Hillsborough County Chapter of the 69’ers, also
known as the “Killlsborough” Chapter.

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The Killsborough Chapter, through its members and associates, was
engaged in interstate narcotics distribution. Specifically, the 69’ers transported
heroin, cocaine, and marijuana into the State of Florida for redistribution by
fellow club members. Additionally, the 69’ers were responsible for the sale of

| heroin, cocaine, methamphetamine, and marijuana in the Middle District of
Florida.

The Killsborough Chapter, through its members and associates, was
also engaged in acts of violence. The relationship between the 69’ers and the
Outlaws Motorcycle Club (“the Outlaws”) was initially cordial in the State of
Florida, but turned hostile and violent in 2017. On April 18, 2017, a group of
Outlaws attacked Guinto and another member of the 69’ers and stole their
leather vests. As a result, the Killsborough Chapter president, Cosimano,
vowed to take the lives of two Outlaws as retribution for the two stolen vests.

James Costa was the president of the St. Petersburg Chapter of the
Outlaws. On July 25, 2017, Cosimano followed Costa’s motorcycle for several
miles before shooting Costa several times with a handgun. Cosimano
committed this act to maintain and increase his position in the 69’ers.
Cosimano informed Guinto of the shooting immediately after it occurred.

Guinto then escorted Cosimano home and disposed of the handgun used in

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the shooting. Guinto committed these acts to hinder Cosimano’s
apprehension, trial, and punishment by law enforcement.

Paul Anderson was the president of the Cross Bayou Chapter of the
Outlaws. On December 21, 2017, Cosimano learned of Anderson’s
whereabouts. Cosimano met with Mencher, Guinto, Robinson, and Wesling
at the Killsborough Chapter clubhouse. All five defendants then agreed to
follow Anderson and left the clubhouse. Cosimano and Mencher were armed
with pistols and drove motorcycles. Guinto and Robinson drove in Guinto’s
Dodge Charger, and Wesling drove his Ford Fusion. Guinto, Robinson, and
Wesling’s role was to follow Anderson and relay his location to the would-be
assassins, Cosimano and Mencher. Guinto, Robinson, and Wesling followed
Anderson for several minutes, passing along Anderson’s location to Cosimano
and Mencher.

Anderson stopped at a traffic signal in the area of State Road 54 and
State Road 589 in Lutz, Florida. Cosimano and Mencher stopped their
motorcycles alongside of Anderson’s vehicle. Cosimano then shot Anderson
several times, causing his death. At the time of the shooting, Wesling was
parked directly behind Anderson’s vehicle and Guinto and Robinson were

parked approximately three car lengths away from Anderson’s vehicle. Each

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of the defendants committed this act to maintain and increase their position in
the 69’ers.

After the murder, Guinto and Robinson agreed to dispose of the firearm
used to murder Anderson. Additionally, Robinson altered the appearance of
the motorcycles operated by Cosimano and Mencher during the homicide.

Robinson committed these acts to hinder Cosimano, Mencher, Guinto,
and Wesling’s apprehension, trial, and punishment by law enforcement.

The above is merely a brief summary of the events, some of the
persons involved, and other information relating to this case and does not
include, nor is it intended to include, all of the events, persons involved, or

other information relating to this case.

12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been

made to the defendant or defendant's attorney with regard to such guilty plea.

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13. Certification

The defendant and defendant's counsel certify that this plea

agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms.

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DATED this 7 day of bitin _ , 20187

Allan Burt Guinto
Defendant
co —

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Benjamin Stechschulte
Attorney for Defendant

 

MARIA CHAPA LOPEZ
United States Attorney

Cee ——

Carlton C. Gammons
Assistant United States Attorney

/

Christopher F. Murray
Assistant United States Attorney
Chief, Violent Crimes and
Narcotics Section

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